      Case 1:23-cr-00044-DMT          Document 165        Filed 02/21/24     Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                   )
                                            )
              Plaintiff,                    )       ORDER
                                            )
       vs.                                  )
                                            )
Jimmy Dwayne Jefflo,                        )       Case No. 1:23-cr-044
                                            )
              Defendant.                    )


       The court previously appointed attorney William Harvey Skees for the limited purpose of

representing Defendant at his initial appearance and arraignment. Defendant made his initial

appearance and was arraigned on February 21, 2024. Accordingly, attorney Skees is authorized to

withdraw. The court shall appoint substitute counsel for Defendant in a separate order.

       IT IS SO ORDERED.

       Dated this 21st day of February, 2024.

                                                    /s/ Clare R. Hochhalter
                                                    Clare R. Hochhalter, Magistrate Judge
                                                    United States District Court
